Case 19-12202 DOC 1 Filed 02/22/19 Page 1 Of 34

Fill in this information to identify your case:

United States Banl<ruptcy Court for the:
District of Maryland

Chapter you are filing under:
Chapter 7 '

|;l Chapter 11

El chapter 12

|:l Chapter 13

Case number (lfknown):

   

  

'j.Cl check ifthis is an
amended filing

~")‘ lt%§'°;q¢_»wlzaaaj

Official Form 101
Voluntary Petition for lndividuals Fi|ing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 ln all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
informat|on. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentify Yourself

 

 

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):
1. Your full name
Write the name that is on your -
government-issued picture $hem None
identification (for example, F"st name F"st name
your driver’s license or Yvefte
passport). Middle name Middle name
Smothers

 

Bring your picture
identification to your meeting Lan name Last name
with the trustee.

Suffix(Sr., Jr., ll, l|l) Suffix (Sr., Jr., ll, lll)

 

 

 

 

 

 

 

 

|dentification number
(lTlN)

 

2. All other names you Sherri
have used in the last 8 First name First name
years Yvette
include your married or Middle name Middle name
maiden names. SmOtherS-Peffy
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. On|y the last 4 digits of
yourSocialSecurity XXX ` XX"-Q---O-il XXX ` XX_____-
number or federal oR oR
individual Taxpayer
9 xx - xx - 9 xx - xx -

 

Ofticial Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

 

 

 

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Debtor 1 Sherl' l YVette SmOtherS Case number (ifknown)
First Name Middle Name Last Name
About Debtor1: About Debtor 2 (Spouse Oniy in a Joint Case):

4. Any business names
and Emp|oyer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

m l have not used any business names or Ele.

n l have not used any business names or Ele.

None

 

Business name

Business name

 

Business name

Business name

 

 

 

 

 

 

H _ J _

EN`__ __'__`__`_""`_'__ EM`__ _`_`__'_"_'__`_`__
5. Where you live if Debtor 2 lives at a different address:

6110 Edmondson Ave

Number Street Number Street

C4

Baltimore MD 21228

City State ZlP Code City State ZlP Code

Baltimore

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

None
Number Street

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street

 

 

 

 

P.O. Box P.O. Box
City State ZlP Code City State ZlP Code
a_ Why you are choosing Check one: Check one.'

this district to file for
bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

E\ i have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

n Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

El l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

thcial Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy page 2

 

 

 

Debtor 1

Sherri

First Name

Yvette

Middle Name

 

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Smothers

Last Name

Case number (rknown)

Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

g Chapter 7

El Chapter 11
Ei chapter 12
El Chapter 13

 

How you will pay the fee

CI iwiil pay the entire fee when l file my petition. Please check with the clerk’s ofhce in your

` local court for more details about how you may pay. Typically, if you are paying the fee
yourseif, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pre-printed address.

M | need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Insta/lments (Ochiai Form 103A).

El | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the ofhcial poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Ofiicial Form 103B) and file it with your petition,

 

 

 

 

 

 

 

 

 

 

9. Have you filed for ij NO
bankruptcy within the
l t 8 ? m Yes. Distiict Mary|and When 08/17/2009 Case number 09`25230
as years
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy m No
cases pending or being
filed by a spouse who is n Yes. Debtor Relationship to you
not f'|mg th's ca_Se w|th District When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM / DD / YYYY
11- D° _y°u rent your Ei No. Go to line 12.
res'de"°e? m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

Ofticial Form 101

m No. Go to line 12.

El Yes. Fiil out initial Statement About an Eviction JudgmentAgainst You (Form 101A) and hle it with
this bankruptcy petition,

Voluntary Petition for individuals Fi|ing for Bankruptcy page 3

Debtor1 Sherri YVette Smothers Case number (/fknewn)

First Name Middle Name

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Last Name

Report About Any Businesses You Own as a Sole Proprietor

§
t

 

12. Are you a sole proprietor m No_ Go to pari 4_

of any fuii- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition,

Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZlP Code

Check the appropriate box to describe your business:

El Health Care Business (as defined in 11 U.S.C. § 101(27A))
El Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
El Stockbroker (as defined in 11 U.S.C. § 101(53A))

U commodity Broi<er (as denned in 11 u.S.c. § 101(6))

Cl None of the above

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

lf you are Hling under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

m No. l am not filing under Chapter 11.

n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

El Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Ofiicial Form 101

 

m No
El Yes. vvnai is ihe hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZlP Code

Voluntary Petition for individuals Fi|ing for Bankruptcy page 4

 

Case 19-12202 Doc 1 Fi|ecl 02/22/19 Page 5 of 34

Sherri

First Name

Debtor 1

m Explain Your Efforts to Receive a Briefing About Credit Counse|ing

Yvette

Middle Name

Smothers

Last Na me

Case number (irknewn)

 

l

~` 15. Tell the court whether

l you have received a
briefing about credit
counsehng.

The law requires that you
receive a briehng about credit
counseling before you tile for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to fiie.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

g i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, butl do not have a
certificate of completion.

Vihthin 14 days after you file this bankruptcy petition,
you MUST Hle a copy of the certificate and payment
plan, if any. '

El l certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you fled for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

\;l l am not required to receive a briefing about
credit counseling because of:

El incapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disabiiity. My physical disability causes me
to be unable to participate in a
brienng in person, by phone, or
through the internet, even after l

reasonably tried to do so.

El Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
brieing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy

About Debtor 2 (Spouse On|y in a Joint Case):

You must check one:

m i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a t
certificate of completion. '

V\hthin 14 days after you file this bankruptcy petition, t
you MUST file a copy of the certificate and payment
plan, if any.

El | certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afteri made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirementl

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you hie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed .

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

m i am not required to receive a briefing about
credit counseling because of:

El incapacity. i have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disabiiity. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the internet, even after i

reasonably tried to do so.

El Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must die a
motion for waiver of credit counseling with the court.

page 5

 

 

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Debtor 1 S h erri ' YVette S mOth erS Case number (irknown)

First Name Middle Name Last Name

Answer These Questions for Reporting Purposes

. 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16' What kmd °f debts d° as “incurred by an individual primarily for a personal, family, or household purpose.”

you have?
i;l _No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

m No. Go to line 160.
El Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under r_ _
chapter 7? [;l No. l am not filing under Chapter 7. Go to line 18.

Do you estimate that after m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and g NO
administrative expenses
are paid that funds will be n Ye$

available for distribution
to unsecured creditors?

 

 

18. How many creditors do m 1-49 El 1,000-5,000 El 25,001-50,000
you estimate that you Ci edge Ei 5,001-10,000 Ei 50,001-100,000
°We? Ei 100-199 El 10,001-25,000 El ivioreinan 100,000
Ci 200-999
19. How much do you El $0-$50,000 Cl $1,000,001-$10 million El $500,000,001-$1 billion
estimate your assets to El $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion
be Worfh? Ei $100,001-$500,000 ~ El $50,000,001-$100 million Ei $10,000,000,001-$50 billion
Ei $500,001-$1 million Ei $100,000,001-$500 million El iviore ihen $50 billion
zo. How much do you El $o-$so,ooo Ci $1,000,001-$10 million El $500,000,001-$1 billion
estimate your liabilities $50,001-$100,000 El $10,000,001-$50 million Ei $1,000,000,001-$10 billion
i° be? y El $100,001-$500,000 El $50,000,001-$100 million El $10,000,000,001-$50 billion
Ei $500,001-$1 million Ei $100,000,001-$500 million Ei iviore inan $50 billion

Sign Below
l have examined this petition, and l declare under penalty of perjury that the information provided is true and
F°i' you correct.

if l hav,e chosen to tile under Chapter 7, i am aware that i may proceed, if eligibie, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

if no attorney represents me and i did not pay or agree to pay someone who is not an attorney to help me till out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition,

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S. .§§ 152, 1341, 1519 and 3571.

  

 

X o X C;z/¢:z/A a
Sig`r`i`ature of Debtor 1 Signature of Debtor 2
Executed on 02/01/2019 Executed on

MM / DD /YYYY MM/ DD /YYYY

 

          

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 6

 

 

 

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Debtor 1 S h erri Yvette S mOth e rs Case number (ifknown)

First Name Middle Name _ Last Name

 

f _ |, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
F°r your attorney’ if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eiigible. l also certify that i have delivered to the debtor(s)

the notice required by 11 U.S.C. § 342(b) and, in a case`in which § 707(b)(4)(D) applies, certify that l have no

l if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

 

 

 

 

 

 

 

 

- need to file this page. x
; Date
Signature of Attomey for Debtor MM / DD /YYYY
None
Printed name
Firm name
Number Street
City State ZlP Code
Contact phone Email address
Bar number State

 

thciai Form 101 Voluntary Petition for individuals Filing for Bankruptcy * page 7

 

 

Case 19-12202 Doc 1

Sherri

First Name

Debtor 1
Middle Name

` For you if you are filing this
bankruptcy without an
y attorney

if you are represented by
an attorney, you do not
: need to file this page.

Yvette

Filed 02/22/19 Page 8 Of 34

Smothers

Last Name

Case number (iiknown)

The law allows you, as an individuall to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfu||y. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successfui, you must correctly file and handle your bankruptcy case, The rules are very ~
technicai, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benth of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding propertyl falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorneyl the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federai Ruies of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

El No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompletel you could be fined or imprisoned?

El No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you ill out your bankruptcy fomis?
m No

El Yes. Name of Person .
Attach Bankruptcy Petition Preparefs Notice, Declaration, and Signature (Official Form 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this noticel and i am aware that hiing a bankruptcy case without an
attorney may cause me to lose my rights or property if i do not properly handle the case,

 

 

x \j/¢r/l//..) AWM@ X 5’~//;1///` 2

 

Signature of Debtor 1 Signature of Debtor 2 l
pate 02/01/201 9 gate
MM/ DD /YYYY MM/ DD /YYYY
Contact phone (443) 452'7399 Contact phone
Cell phone Cell phone

 

Emaiiaddress Sherrismotherss43@gmail.com

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy

Email address

page 8

 

 

 

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Fi|l in this information to identify your case:

Deblor 1 Sherri Yvette Smothers

First Name Middle Name Last Name

Debtor 2 None

 

 

(Spouse, if niing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District Of Mai'yland

b 1 Ei cheek ifinis is en
c(:l?::o:i:?` er " ~' amended filing

 

 

 

Officiai Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

m List All of Your PR|OR|TY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
m No. Go to Part 2.
n Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured ciaim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it' is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured ciaims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction bookiet.)

 

 

 

 

 

 

 

 

 

 

2.1
None Last4 di its of account number _ _ _ _ $ $ $
9
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you fi|e, the claim is: Check all that apply
city slate ziP code n C°"ti"ge"t
_ 9 Ei unliquidated
Who incurred the debt. Check one. m Disputed
Cl Debtor1 only
Cl Debtor 2 only Type of PR|OR|TY unsecured ciaim:
g, Debt°r 1 and Debt°r 2 only n Domestic support obligations
At least one of the debtors and another n Taxes and certain other debts you owe the government
n Check 'f th's cla'm ls for a commumty debt n Claims for death or personal injury while you were
is the claim subject to offset? 'nt°X'°ated
E| No n Other. Specify
n Yes
2.2 |

 

Last4 digits of account number _ _ _ ___ $ $ $

Priority Creditors Name
When was the debt incurred?

 

 

 

Number Street
As of the date you fi|e, the claim is: Check ali that apply
n Contingent

ciiy siele zlP code Ci unliquidated

Who incurred the debt? Check one. m Disputed

El Debtor1 only

\:l Debtor2 only

cl Debtor1 and DebtorZ only

n At least one of the debtors and another

Type of PR|OR|TY unsecured claim:
a Domestic support obligations
n Taxes and certain other debts you owe the government

Elcl' fdlh i" h'l
n Check if this claim is fora community debt a|ms or ea or persona m]uryw ley°u were

 

intoxicated
ls the claim subject to offset? L_.l Other. Specify
a No
n Ves

 

 

 

Officiai Form 106E/F Schedu|e ElF: Creditors Who Have Unsecured Claims page 1 of_

 

Case 19-12202 DOC ’l Fi|eCl 02/22/19 Page ’lO Of 34

center 1 Sherri Yvette

Smothers Case number (ifknqwn)

 

First Name Middle Name Last Name

lall Your PR|0R|TY Unsecured Claims - Continuation Page

 

:| None

Priority Creditors Name

 

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

|:l Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

` After listing any entries on this page, number them beginning with 2.3, followed by 2.4_, and so forth. :

Last 4 digits of account number $ $ $

 

 

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

a Contingent
Cl unliquidated
a Disputed

Type of PR|0R|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

IJ UUU

 

 

 

Priority Creditofs Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor2 only

n At least one of the debtors and another

Last 4 digits of account number $ $ $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
a Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

U UUU

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor2 only

Cl At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

E] cheek if this claim is for a community debt i'“°"i°ated
Other. Specify
ls the claim subject to offset?
cl No
n Yes
Last 4 digits of account number __ _ _ _ $ $ $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
Cl unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

 

intoxicated
Other. Specify

U UUIJ

 

 

 

Officiai Form 106E/F

Schedu|e ElF: Creditors Who Have Unsecured Claims

page _ of _

Case 19-12202 DOC ’l Fi|eCl 02/22/19 Page ’l'l Of 34

Debtor1 Sherri Yvette Smothers

First Name Middle Name Last Name

Case number (irknewn)

 

w List All of Your NONPR|OR|TY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

 

Yes

claims till out the Continuation Page of Part 2. g

:| Capital One Bank USA

 

Nonplion`ty Creditors Name

 

 

PO Box 30281

Number Street

Salt Lake City UT 84130
City State ZlP Code

Who incurred the debt? Check one

w Debtor1 only

n Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

a Check if this claim is for a community debt

ls the claim subject to offset?

\:l No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular ctaim, list the other creditors in Part 3.|f you have more than three nonpriority unsecured

 

Last 4 digits of account number_9 _7 _0 _0 300-00
When was the debt incurred? 02/19/2016

As of the date you file, the claim is: Check all that apply.

n Contingent
Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

El Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only

Cl Debtor 2 only

n Debtor 1 and Debtor2 only

m At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

m No
a Yes

m N° d other. specify Cred it Card
n Yes
42 BGE Last 4 digits of account number _1_ _2 _7 _9 $ 3,000-00
Nonpriority creditors Name When was the debt incurred? 1 1/01/2016
PO Box 17205
Number Street
Wj|mington DE 19850 As of the date you file, the claim is: Check all that apply.
City State ZlP Code

n Contingent
v unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-shaan plans, and other similar debts
U otner. specify Utllltles

 

4.3

Bethesda Funding LLC

 

Nonpriority Creditors Name

200 E. Joppa Road Suite 301

 

 

Number Street
Towson MD 21286
City State ZlP Code

Who incurred the debt? Check one.

q Debtor 1 only

a Debtor2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
n No
cl Yes

 

Last 4 digits of account number _& _2 __3 l

$ 1,200.00
When was the debt incurred? 05/31/2011 _

As of the date you file, the claim is: Check all that apply.

g Contingent
q Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
g Other. Specify

 

 

Ochial Form 106E/F

 

Schedu|e ElF: Creditors Who Have Unsecured Claims

page _ of __

 

 

Case 19-12202 DOC 1 Fi|eCl 02/22/19 Page 12 Of 34

Debtor 1 Sherri Yvette Smothers Case number tirl<nawn)

 

 

First Name Middle Name Last Name

Your NONPR|0R|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by`lt.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

a Check if this claim is for a community debt

ls the claim subject to offset?

mr No
n Yes

a Unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

w Other.Specify AUtOmOblle

 

thcia| Form 106E/F

 

Schedu|e ElF: Creditors Who Have Unsecured Claims

 

4.4 - -
State Farm Claims Last4 digits of account number l l l l $ 7’000_00
Nonpiiority Creditors Name
wh h d b~ ? 01/10/2017
PO BOX106171 enwast e e tincurred
N b St t
;`rtn|aelr,]ta ree GA 30348 As of the date you file, the claim is: Check all that apply.
city State ZlP Code El Contingent
q Unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor 1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Al least one of the debtors and another [;l Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g Other_ Specify
Cl No
a Yes
4`5 ' ' 7 9 5 1 1l
St_ Agnes Healthcare Last4 digits of account number _ _ _ _ $ OO0.00
Nonpriority Creditors Name
When was the debt incurred? 1 1/29/2016
Po Box 418468 ___
Number Street
As of the date o file, the cla' 's: Ch k ll th t | .
Boston iviA 02241 y “ "“ ' e° a a app y
city state ziP code El contingent
_ q unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only m Studenuoans
Al least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
E] Check if this claim is for a community debt you did not report as priority claims
l;l Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other_ Specify Medica|
w No
n Yes
`4.6| 7 4 4 $20,000.00
Skopos Financia| Last4 digits of account number __ _ i _
Nonpriority Creditors Name
When was the debt incurred? 08/01/2013
225 E. John Carpenter Fwy __
Number Street As of the date o file the cla'm ' Ch k || th t l
. u , i is: ec a a a .
irving Tx 75062 Y pp y
city state ziP code El contingent

page _ of ___

 

 

ann ~'*__-____

Case 19-12202 DOC 1 Fi|eCl 02/22/19 Page 13 Of 34

Debtor 1 Sherri Yvette Smothers Case number (irknown)

 

 

First Name Middle Name Last Name

g Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

a Debtor1 only

cl Debtor 2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

q Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts
g Other. Specify

 

 

Officiai Form 106E/F

Schedu|e ElF: Creditors Who Have Unsecured Claims

4.7 . .
progressive Leasing Last4 digits of account number g __‘1_ l § $ 21500_00
Nonpriorily Creditors Name
_ w th - , 10/01/2016
256 W_ Date Dnve hen was e debt incurred
Number Street
h d ' th | ` ' : k ll .
Draper UT 84020 As oft e ate you file, e c aim is Chec a that apply
city state ziP code |:| Contingent
m unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Studenuoans
At least one of the debtors and another Cl Obligations arising out of a separation agreement or divorce that
l:l Check if this claim is for a community debt you d'd not report as pr'c_mty cl?'ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? d Other_ Specify Fumltul'e
g No
n Yes
al .. 0 1 0 0
‘ Credit Co"ection Services Last4 digits of account number __ _ _ _ $ 5,500.00
Nonpriority Creditors Name
When was the debt incurred? 11/01/2015
725 Canton Street __
Number Street
As of the date ou f`|e, the claim 's: Ch k ll th t l .
Non~ood iviA 02062 y ' ' f e° a a am
city state ziP code C| Contingent
_ q Unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student|oans
Al least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not regan as pm_mly cl_alms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other_ Specify Liber`fy Mutual
g No
cl Yes
\Ml 9 0 9 9 $15,000.00
Hyundai Motor Finance Last4 digits of account number _ __ _ _
Nonpriority Creditors Name
When was the debt 'ncurred? 01/01/2016
10550 Taibert Ave. ' __
Number Street
. As of the date ou f'le, the claim is: Check ll th t | .
Fountain Valley CA 92708 y ' a a app y
city state ziP code E| Contingent

page _ of _

 

 

 

 

Case 19-12202 DOC 1 Filed 02/22/19 Page 14 Of 34

Debtor1 Sherri Yvette Smothers Case number (irknown)

First Name Middle Name Last Name

m Your NCNPRlQRlTY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5.0 . .
Victoria Fire and Casua|ty Last4 digits ofaccount number l _1_ i l $ 11100_00
Nonpriority Creditors Name
. When was the debt inc rred?
22901 lvlillcreek Bin “
Number Street
Afhdt `,th|":h t l.
C|eve|and OH 44122 so t e aeyoufile ecaim is C ecka||tha appy
City state ziP code Cl Contingent
q Unliquidated
Who incurred the debt? Check one. a Disputed
q Debtor1 only
El Debtor 2 only Type of NONPR|CR|TY unsecured claim:
g Debtor1 and Debtor 2 only a Student loans
At least one of the debtors and another [] Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not report as pn?nty c|é'ms _ _
cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? E[ Other. Specify Nationwide Insurance
g No
a Yes
al ' ' 4 0 6 5 2,600 00
Met Life lnsurance Last4 digits of account number _ _ __ _ $ .
Nonpriority Creditofs Name
When was the debt incurred?
PO Box 41753
Number Street
. . As of the date ou file, the claim is: Check all that a l .
Philadeipnia PA 19101 y pp y
City State ZlP Code m Contingent
q Unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another l;l Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not raped as pm_mty cl`::"ms _ _
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other_ Specify insurance
g No
a Yes
`5.2| 1 2 7 4 $ 4,000.00
Fair Co"ections Last 4 digits of account number _ _ _ __
Nonpriority Creditor's Name
` . . When was the debt incurred?
12304 Baltimore Ave Suite E
Number Street '
. As of the date ou file, the claim is: Check all that a l .
Beitsviiie ile 20705 y p"y
City state ziP Code Cl Contingent
m Unliquidated
Who incurred the debt? Check one. ij Disputed
n Debtor1 only
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only cl Student loans
At least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pm_mty claims _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Specify
q No
a Yes

 

 

 

Officia| Form 106E/F Schedu|e E/F: Creditors Who Have Unsecured Claims page _ of __

 

 

 

Case 19-12202 DOC 1

Debtor 1 Sherri Yvette

Smothers

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Case number (irknawn>

 

First Name Middle Name Last Name

m Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

5.3

 

 

Prestige Financial Services

 

Nonpriority Creditors Name

351 Opportunity Way

 

 

 

 

 

After listing any entries yon this page, number them beginning with 4.4, follc wed by 4.5, and so forth.

Last 4 digits of account number l _§_ l 1
01/01/2016

When was the debt incurred?

 

 

$13,000.§;3

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

a Debtor1 only

Cl Debtor 2 only

E] Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
cl Debts to pension or profit-sharing plans, and other similar debts

l;l Other. Specify

 

Officia| Form 106E/F

Schedu|e EIF: Creditors Who Have Unsecured Claims

Number Street As of the date ou file the claim is' Ch k all that a l
Draper UT 84020 y ’ ' ec pp y`
city state ziP code Cl Contingent
_ q unliquidated
Who lncurred the debt? Check one. a Disputed
a Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only a Student loans
At least one °f the debt°rs and an°mer n Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d|d not re‘_mn as pm_mty c|?|ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g other_ specify
w No
n Yes
J ~ - 1 0 0 1 3,000 00
` F|agship Acceptance Last4 digits of account number __ _ __ _ $ _
Nonpriority Creditors Name
_ When was the debt incurred? 03/01/2017
3 Christy Dr. #203
Number Street As of the date ou file the cla'm 's Check all th t l
, i i : a a .
chadds Ford PA 19317 y pp’
City State ZlP Code n Contingent
a Unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least °ne of the debtors and another n Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not report as pm_mty c|_a|ms . .
n Debts to pension or profit-sharing plans. and other similar debts
ls the claim subject to offset? q Other. Specify
n No
n Yes
`5.5| 9 0 6 1 $ 2,500.00
Cash Net USA Last 4 digits of account number _ _ _ __
Nonpriority Creditors Name
When was the debt incurred? 01/01/2017
PO Box 206739
Number Street As of the date ou file the cla'm 's Check ll th t l
, i i : a a a .
Daiias TX 75320 y "" y
City state ziP code El contingent

page __ of _

 

 

 

Case 19-12202 DOC 1

Sherri Yvette

Debtor 1

Smothers

Fi|eCl 02/22/19 Page 16 Of 34

Case number tiri<nawn)

 

First Name Middle Name Last Name

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

a Debtor1 only

n Debtor2 only

El Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

l:l No
cl Yes

 

El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
El other. specify

 

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

5.6 . .
Enterprise Last 4 digits of account number l g _9_ l $ 11500_00
Nonpriority Creditors Name
. When was the debt incurred? 01/01/2018
600 Corporate Park Drive __
Number Street
. As of the date ou file, the claim is: Ch ck all th t l .
st. Louie ivlo 63105 y " a appy
city state ziP code E| Contingent
U unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only cl Student loans
At least one of the deb!°rs and another m Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not report as pm_mty cla'ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? w Omer_ Specify
d No
n Yes
5.7|
l Last 4 digits of account number _ __ __ $
Nonpriority Creditors Name
When was the debt incurred?
N b St eet
um er r As of the date you file, the claim is: Check all that apply.
City State Z|P Code m Contingent
El unliquidated
Who incurred the debt? Check one. cl Disputed
a Debtor1 only
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one °f the debtors and another a Obligations arising out of a separation agreement or divorce that
EI Check if this claim is for a community debt you d'd not report as pr'anty da'ms _ _
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E| Other4 Specify
n No
n Yes
lJ . . $
Last 4 digits of account number _ __ _
Nonpriority Creditors Name
When was the debt incurred?
Number Street _ _ _
As of the date you file, the claim is: Check all that apply.
City state zlP code l`_`l Contingent

page __ of _

 

Debtor 1

Case 19-12202 DOC 1

Smothers Case number (ifi<newn)

Fi|eCl 02/22/19 Page 17 Of 34

 

 

m List Others to Be Notified About a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number Cl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_ __ _ ___
city
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Number El Part 2; creditors with Nonpriority unsecured
Claims
C‘t Last 4 digits of account number_ _ _
iv
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number El Part 2.' Creditors with Nonpriority Unsecured
Claims
C Last 4 digits of account number _ _ _
ity
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Cl Part 2: Creditors with Nonpriority Unsecured
Claims
ct Last 4 digits of account number _ _` _ _
ly
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): |;l Part 1: Creditors with Priority Unsecured Claims
Number Cl Part 2: Creditors with Nonpriority Unsecured
Claims
C Last 4 digits of account number__ _ __ _
ity
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Number Cl Part 2: Creditors with Nonpriority Unsecured
Claims
C Last 4 digits of account number_ _ _ _
ity
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
b
Num er El Part 21 Creditors with Nonpriority Unsecured
Claims
City Last 4 digits of account number_ _ _ _

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

 

 

 

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Debt°r 1 Sherri Yvette Smothers

First Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

 

 

6a.

6b.

6c.

6d.

6e.

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Tota|. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j'. Total. Add lines 6f through 6i.

6a.

6b.

60.

6d.

6e.

6f.

69.

6h.

6i,

ej_

Case number (irknewn)

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 0.00
Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 83,200.00
$ 83,200.00

 

 

 

Ofncia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

page _ of _

 

 

Case 19-12202 DOC 1 Fi|eCl 02/22/19 Page 19 Of 34

Fill in this information to identify your case:

Debt§r 1 Sherri Yvette Smothers

First Name Middle Name Last Name

Debi¢rz None

(Spouse, if tillng) First Name Middle Name

United States Bankruptcy Court for the: Dlstricf Of Mary|and

Case number
(lf known)

 

   

El check ifthie is an

 

 

amended filing

Ochial Form 106Dec
Declaration About an lndividual Debtor’s Schedules one

 

lf tiivo married people are filing together, both are equally responsible for supplying correct infonnation.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud ln connection with a bankruptcy case can resu|t' in fines up to $250, 000, or imprisonment for up to 20
years, or both. 18 U. S. C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNo

n Yes. Name of person . Attach Bankmptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

x ijto 250/we x

 

Signature of Debtor1 Signature of Debtor 2
Date 02/01/2019 Date
MM/ DD / YYYY MMI DD l YYYY

 

 

 

Officiai Form 106Dec Declaration About an lndividual Debtor’s Schedules

 

 

Case 19-12202

Fi|| in this information to identify your case:

Debtor 1 Sherri

Yvette

DOC 1

Smothers

 

First Name

Debtor 2 None

Middle Name

Last Name

 

(SpOU$e, if fllir`lg) First Name

United States Bankruptcy Court for the: Districl of Mary|and

Case number

Middle Name

Last Name

 

(|f known)

 

 

Officiai Form 107

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

 

Fi|eCl O2/22/19 Page 20 Of 34

 

El Check if this is an
amended filing

04I1 6

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Details About Your Marital Status and Where You Lived Before

 

cl Married
w Not married

1. What is your current marital status?

 

 

El No
Debtor 1:
2202 Whittier Ave.
Number Street
Apt 2
Baltimore MD 21217

 

City State ZlP Code

2. During the last 3 years, have you lived anywhere other than where you live now?

d Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Dates Debtor1
lived there

Debtor 2:

m Same as Debtor 1

me 11/01/2016

_Dates Debtor 27
lived there ~

m Same as Debtor1

From

 

TO 11/01/2017 Number Street

To

 

 

City

State Z| P Code

 

 

 

 

5100 Dickey Hi|l Road

 

Number Street

 

 

ElNo

 

B1O
Windsor Mi|| MD 21207
City State ZlP Code

a Same as Debtor 1

From 04/01/2016
To 11/01/2016

Number Street

m Same as Debtor 1

From
To

 

 

city

El Yes. Make sure you nl| out Schedule H: Your Codebtors (Official Form 106H).

State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Ca|ifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

 

 

 

mplain the Sources of Your lncome

Officia| Form 107

Statement of Financia| Affairs for lndividuals Filing for Bankruptcy

 

page 1

 

 

Debtor 1

Case 19-12202 Doc 1

Sherri

First Name

Yvette Smothers

Middle Name Last Name

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Case number tirkndwn)

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

MNo

m Yes. Fill in the details.

 

 

Sources of income
Check'all that apply.

M Wages, commissions,

r m 1 rren until
F o January of cu tyear bonuses'tips

the date you filed for bankruptcy:

 

n Wages, commissions,
bonuses, tips

m Operating a business

For last calendar year:
(January 1 to December 31, )
YYYY

m Wages, commissions,

For the calendar year before that: ,
bonuses, tips

(January 1 to December 31wi ) Cl operating a business

 

m Operating a business

Gross income

(before deductions and
exclusions)

Sources of income
Check all that apply.

n Wages, commissions,
bonuses, tips

$ 12,579.85

n Wages, commissions,
bonuses, tips

$ 54,054.30
n Operating a business

   

n Wages, commissions,
bonuses, tips

50,251.37
$_'_ n Operating a business

m Operating a business

Gross income

(before deductions and
exclusions)

$ 0.00
$ 0.00
$ 0.00

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benth payments; pensions; rental income; interest dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

UNo

Cl Yes. Fill in the details

 

Sources of income
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

   

' Sources ofincome
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

 

 

For last calendar year:

(January 1 to December 31, )
YYYY

None

 

 

 

 

 

 

For the calendar year before that:

 

(January 1 to December 31, )

None

 

YYYY

 

 

Officiai Form 107

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

page 2

 

 

 

 

Case 19-12202 DOC 1 Filed 02/22/19 Page 22 Of 34

Debtor1 Sherri Yvette Smothers ease number(,,kncwn)

 

 

First Name Middle Name Last Name

 

md Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
El No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

El No. colo line 7.

El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases fried on or after the date of adjustment

m Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you fried for bankruptcy, did you pay any creditor a total of $600 or more?

El No. Goto line 7.
l:l Yes. List below each creditor to whom you paid a total of $600 or’more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
aiimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
No.ne $ $ m Mortgage
Creditor‘s Name
n Car
Number Street n Credit card

a Loan repayment

 

m Suppiiers or vendors

 

city State ziP code m Other

 

$ $ n Mortgage
n Car

Cl Credit card

 

 

Creditors Name

 

Number Street

m Loan repayment

 

 

cl Suppiiers or vendors

 

 

 

 

 

 

Cify State zlP code l:l Other
$ $ n Mortgage

Creditors Name

m Car
Number Street m Credit card

m Loan repayment

cl Suppiiers or vendors
City state zlP code cl Other

 

 

 

 

 

 

 

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

 

Debtor1 Sherri

First Name

Case 19-12202 Doc 1

Yvette Smothers

Last Name

Case number (lfknewn)

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MNo

None

lnsidefs Name

Cl Yes. List ali payments to an insider.

Dates of
payment

Amount you still

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general pariner;
corporations of which you are an omcer, director, person in controi, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and aiimony.

Reason for this payment

 

 

 

Number Street

 

 

City

State ZlP Code

 

 

insiders Name

 

Number Street

 

 

City

an insider?

MNo

None

insiders Name

State ZlP Code

include payments on debts guaranteed or cosigned by an insider.

El Yes. List ali payments that benefited an insider.

Dates of
payment `

 

 

Amount you still

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

Reason for this payment
include creditor’s name

 

 

 

Number Street

 

 

City

State ZlP Code

 

 

 

lnsidei*s Name

 

Number Street

 

 

 

 

 

 

City

State Z|P Code

 

 

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Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

page 4

 

 

 

 

 

 

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Deb,o, 1 Sherri Yvette Smothers

Case number (irknowrr)
First Name Middle Name Last Name

 

ldentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?

List ali such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

MNo

Cl Yes. Fill in the details

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Coun Name n Pending
n On appeal
Number Street n Concluded
Case number
City State ZlP Code
Case fifle_______ Coun Name n Pending
cl On appeal
Number Street n Concluded
Case number
City State Z| P Code

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and fill in the details below.

El No. Gotoiineii.
U Yes. Fill in the information beiow_

 

 

 

 

 

Describe the property pate value of the property
_ _ 2012 Toyota Camry
Skopos Financial $
Creditofs Name
225 E. John Carpenter Fwy vi _
Number Street Explain what happened

M Property was repossessed
El Property was foreclosed,

 

 

 

 

|Ning TX 75062 a Property was garnished.
city state ziP code El Property was attached , seized, or levied.
Describe the property Date Value ofrthe property
2012 Jetta Volkswagon
Credit Acceptance Corporation $

 

 

Creditors Name

22505 W. 12 Mile Road

Number Street

 

 

Explain what happened

g Property was repossessed.

El Property was foreclosed.

El Property was garnished.

l:l Property was attached, seized, or ievied.

 

Southfie|d MI 48034

City State Z|P Code

 

 

 

 

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

 

 

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Debtor 1 Sherri Yvette Smothers Case number (iiknown>

 

 

First Name Middle Name Last Name

v 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

MNO

El Yes. Fill in the deiaiis.

_ Describe the action the creditor took y Date action Amount
NOl’ie , _ was taken
Creditors Name §

 

 

 

Number Street

 

 

 

 

 

City State ZlP Code Last 4 digits of account number: XXXX-___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

El No
El Yes

m List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

n Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person y ' the gifts
None $
Person to Whom You Gave the Gift "`_
$
Number Street
City State ZlP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts y y l Dates you gave Vaiue
per person ,,,,,,,,,,, the gifts '
_ $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZlP Code

Person’s relationship to you

 

 

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 6

 

 

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Debtor1 Sherri Yvette Smothers

Case number (iri<rrowrr)
First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNO

El Yes. Fiii in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed

Date you Va|ue
that total more than $600

contributed

 

None $
Charity's Name

 

 

 

Number Street

 

 

City State ZlP Code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

MNo

El Yes. Fill in the details

 

 

 

Describe the property you lost and Describe any insurance coverage for the loss y Date of your Va|ue of property
how the loss occurred _ _ . _ _ y loss lost
include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
§None

l __ $

 

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

MNo

El Yes. Fill in the details

Description and value of any property transferred Date payment or Amount of payment
NO|'ie ' _ t transfer was
Person Who Was Paid n made

 

 

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Noi You

 

 

 

 

Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 

 

 

 

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Debtor 1 Sherri Yvette Smothers Case number (irknown)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

None

Person Who Was Paid
$

Number Street
$

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

m Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
None made
Person Who Was Paid
Number Street _ $
$
City State ZlP Code

 

 

 

18. Within 2 years before you filed for bankruptcy, did you seli, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
w No

Ei Yes. Fill in the detaiis.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

None

Person Who Received Transfer

Number Street

City State ziP Code

Person’s relationship to you

Person Who Received Transfer

Number Street

City State ZlP Code

Person’s relationship to you

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 8

 

 

 

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Debtor 1 Sherri Yvette Smothers Case number (irknown>

First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

MNO

El Yes. Fill in the detaiis.

Description and value of the property transferred Date transfer
was made

 

Name of trust None

 

 

 

 

 

 

 

 

 

 

Llst certain Flnanclal Accounts, lnstl'umonts, Sole Doposlt Boxos, and Storago llan

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

El Yes. Fiil in the detaiis.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument ciosed, sold, moved, closing or transfer
or transferred
None
Name of Financial institution
XXXX- n Checking $
Number Street n Savings

n Money market

 

n Brokerage

 

 

 

 

 

 

t °“’ ,, ,,, , i‘.‘,,.‘? . f',,',?,,‘,’°"$, , ill other ,,,,,,,,,,
XXXX- n Checking $
Name of Financial institution
n Savings
Number Street n Money market

n Brokerage

 

n Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

MNo

El Yes. Fill in the detaiis.

 

 

 

 

 

 

 

 

 

 

 

 

Who else had access to it? 3 Describe the contents Do you still

have it?

None n N°

Name of Financial institution Name n Yes

Number Street Number Street

City State ZlP Code
city State zlP Code
Ofncia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

 

Case 19-12202 DOC 1 Filed O2/22/19 Page 29 Of 34

Debtor 1 Sherri Yvette Smothers

Case number (irknown)
First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Fiii in the detaiis.

 

 

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
None i Cl No
Name of Storage Faci|ity Name § n Yes
Number Street Number Street §
citystate ziP code
¢ii¥ , ,, , ,_ _, S'afe Z'P C°de

 

 

ldontlly Property You Hold or controller Somoono lisa

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

No
El Yes. Fill in the detaiis.

Where is the property? Describe the property Value

 

None
Owner‘s Name $

 

 

 

" * Street
Number Street

 

 

 

 

City State ZlP Code
City State ZlP Code

leo Dotalls About lnvlronmontal lnfol'mltlon

 

 

 

For the purpose of Part 10, the following definitions appiy:

l Environmental law means any federa|, state, or local statute or regulation concerning poiiution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

n Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, poi|utant, contaminant, or similar terrn.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

mNo

El Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

 

 

Governmentai unit Environmental law, if you know it ` d g Date of notice
None
Name of site Govemmentai unit
Number Street Number Street
mr
City State ZlP Code

Officiai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 10

 

 

 

 

 

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Debtor 1 Sherri Yvette Smothers Case number (ifkrrown)

First Name Middle Name Last Name

 

 

§§ 25. Have you notified any governmental unit of any release of hazardous materiai?

MNo

El Yes. Fill in the detaiis.

 

 

 

 

 

 

 

Govemmental unit Environmental law, if you know it Date of notice
None
Name of site Govemmental unit
Number Street Number Street
City State ZlP Code

 

City State ZlP Code

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

El Yes. Fill in the details.

 

 

 

 

 

 

Court or agency Nature of the case Status of the
Case title None ~ n _
court Name Pendmg
n On appeal
Number Street a Concluded
Case number city state ziP code

 

§m GIvo Dot¢lls About Your Bus|nm or connoctlons to Any Buslnus

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
§ n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

n A member of a limited liability company (LLC) or limited liability partnership (LLP)

n A partner in a partnership

n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation
w No. None of the above applies. Go to Part 12.

n Yes. Check ali that apply above and fill in the details below for each business. §
Describe the nature of the business Emp|oyer identification number

 

 

 

 

 

 

 

No_ne Do not include Social Security number or lT|N.
Business Name
E|N:__-__________
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZlP Code§§§ §§ §§

 

 

 

Describe the nature of the business Emp|oyer identification number
§ Do not include Social Security number or lT|N.

 

 

Business Name

 

 

 

 

E|N:__-__________
Number Street §
Name of accountant or bookkeeper Dates business existed
From To

 

 

 

 

City State ZlP Code

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

Case 19-12202 DOC 1 Filed O2/22/19 Page 31 Of 34

Debtor 1 Sherri Yvette Smothers Case number (ifkriown)

First Name Middle Name Last Name

 

 

 

Emp|oyer identification number

Describe the nature of the business ,
Do not include Social Security number or lTlN.

 

 

 

 

 

 

 

Business Name

EiN:___-________.__
Number Street Name of accountant or bookkeeper Date$ business existed

From ___ To
City State ZiP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

MNo

n Yes. Fill in the details below.

Date issued

None
Name MM / DD / YYYY

 

 

Number Street

 

 

City State ZlP Code

i have read the answers on this Statement of Financial Affairs and any attachments, and i declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x t///wiw Was x

Signature of Debtor 1 Signature of Debtor 2

Date 02/01/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

w No
El Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
M No

El Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

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United States Bankruptcy Court

 

District of Maryland
111 RCI Sherri Yvette Smothers Case Numberf
Debtor(s) Chapter: 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge

Date: 02/01/2019 signature ofDebtor(s); §S§ vw //7/¢4%
S

 

 

 

Case 19-12202 DOC 1

Skopos Financial
225 E. John Carpenter Fwy
|rving, TX 75062

Credit Acceptance Corp
25505 W. 12 Mile Rd.
Southfie|d, M| 48034

Capita| One
PO Box 30281
Salt Lake City, UT 84130

BGE
PO Box 17205
Wi|mington, DE 19850

State Farm Claims
PO Box 106171
At|anta, GA 30348

St Agnes Hospita|
PO Box 418468
Boston, MA 02241
#7951

Bethesda Funding, LLC
200 E. Joppa Rd.

Suite 301

Towson, I\/|D 21286
#8234

Fair Co||ections
12304 Baltimore Ave. Suite E
Be|tsvi||e, l\/lD 20705

Prestige Financial Services
351 Opportunity Way
Draper UT 84020

F|agship Acceptance
3 Christy Dr. #203
Chadds Ford PA 19317

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Case 19-12202 DOC 1

Enterprise
600 Corporate Pa rk Drive
St. Louis l\/|O 63105

Victoria Fire & Causa|ity
22901 Nli||creek B|vd
C|eve|and OH 44122

Met Life |nsurance
Po Box 41753
Phi|ade|phia PA 19101

Progressive Leasing
256 W. Data Drive
Draper UT 84020

Credit Co||ection Services
725 Canton Street
Norwood MA 02062

Hyundai Motor Finance
10550 Ta|bert Ave
Fountain Valley CA 92708

Cash Net USA
PO Box 206739
Da||as TX 75320

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